
*528OPINION.
Green:
Under the Revenue Act of 1918 deductible losses resulting from the sale of assets acquired prior to March 1, 1913, are measured by subtracting the sale price from the cost, or March 1, 1913, value, whichever is lower. United States v. Flannery, 268 U. S. 98; and McCaughn v. Ludington, 268 U. S. 106, both decided April 13, 1925. While it may be that the taxpayer has sustained a financial loss as a result of the sale of some of the lots, we are unable to measure it for the purpose of determining the deductible loss. We have been provided with but one element, namely, sale price, for making the computation. We can not determine the loss without the other elements, namely, cost and March 1, 1913, value. So much of the deficiency as results from the disallowance of losses must be approved.
The obvious and realized purpose of the contribution was to stimulate land sales. We said in the Appeal of The Thomas Shoe Co., 1 B. T. A. 124:
To be deductible as a business expense a contribution, charitable or otherwise, must have in a direct sense some reasonable relation to the taxpayer’s business.
The success of the Land Company depended upon the demand for the lots and acreage tracts which it was offering for sale. It owned practically all the land between the camp site and the developed portion of the city. The location of the camp inevitably increased the demand for land with a resultant increase in sales. It is difficult to imagine an expenditure which would have stimulated demand as did this contribution. Such a contribution has, in a direct sense, a reasonable relation to the taxpayer’s business. So much of the deficiency as results from the disallowance of the deduction, as a business expense, of the contribution must be disapproved.
Arttndell not participating.
